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 6
                             UNITED STATES DISTRICT COURT
 7                     WESTERN DISTRICT OF WASHINGTON AT TACOMA

 8   KIRK LANCE,                                       Case No.

 9                  Plaintiff,                         AT LAW AND AT ADMIRALTY
10   vs.                                               SEAMAN’S COMPLAINT IN REM AND
                                                       IN PERSONAM FOR DAMAGES FOR
11   ANCHORAGE LAUNCH SERVICE CO., IN                  PERSONAL INJURIES, WAGES, CLAIM
     PERSONAM; M/V TRIUMPH V, OFFICIAL                 FOR MAINTENANCE AND CURE – ALL
12   NUMBER 529680, HER ENGINES,                       WITHOUT PAYMENT OF COSTS, 28
     MACHINERY APPURTENANCES AND                       U.S.C. § 1916
13   CARGO, IN REM,

14                  Defendants.

15

16
            COMES NOW the plaintiff and complains of the defendants alleging upon information
17
     and belief as follows:
18
            1.      Plaintiff, Kirk Lance, brings and maintains this action pursuant to 28 U.S.C.
19
     § 1333; 46 U.S.C. §§ 30103 and 30104 – the Jones Act; U.S. Const. Art. III, sec. 2, and the
20
     general maritime law.
21
            2.      Plaintiff is a resident of Oregon. The in personam defendant conducts business in
22
     the Western District of Washington.
23
     SEAMAN’S COMPLAINT IN REM AND IN PERSONAM FOR                         JOHN W. MERRIAM
     DAMAGES FOR PERSONAL INJURIES, WAGES, CLAIM FOR                   4005 20th Avenue West, Suite 110
     MAINTENANCE AND CURE – ALL WITHOUT PAYMENT OF                        Seattle, Washington 98199
     COSTS, 28 U.S.C. § 1916 - 1                                      T (206) 729-5252 ♦ F (206) 729-1012
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 1          3.      Plaintiff is a seaman and a ward of this Court and elects to take advantage of the

 2   provisions of 28 U.S.C. § 1916 to proceed without prepayment of costs or fees.

 3          4.      Defendant herein, Anchorage Launch Service Co., is a corporation existing under

 4   and by virtue of the laws of a state or states unknown to plaintiff and at all times herein

 5   mentioned was acting by and through its officers, agents, servants, employees and

 6   representatives, and has a principal place of business or is doing business in the Western District

 7   of Washington.

 8          5.      The M/V Triumph V is a moorage-assist vessel documented by the United States,

 9   official number 529680. Said vessel has her home port in the Western District of Washington or

10   will be found in the Western District of Washington during the pendency of this action. During

11   all times herein mentioned said vessel was owned or bareboat chartered by the defendant and

12   was engaged in maritime commerce.

13          6.      At all times herein mentioned, plaintiff was employed by the defendants as a

14   member of the crew, in the service of said vessel and was at all times acting within the course

15   and scope of his duties as deckhand in furtherance of the mission of said vessel.

16          7.      During November 2020 while said vessel was in navigable waters adjacent to

17   Kalama, Washington, plaintiff’s arm was trapped between a piling and the defendant vessel,

18   trapping and crushing his arm. He did thereby sustain severe, painful and disabling injuries to

19   his arm, and other injuries not fully known at this time. Plaintiff prays leave to amend this

20   complaint when the full extent of injuries and disabilities is ascertained.

21          8.      Said injuries, disabilities, and damages were directly and proximately caused by

22   the unseaworthiness of the vessel; the negligence, in whole or in part, of the defendants and their

23   agents, servants and employees; and the failure of the defendants to provide a reasonably safe
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 1   place to work, in one or more of the following respects: The Captain’s negligent handling of

 2   defendant vessel caused the plaintiff’s arm to be trapped and crushed against a piling.

 3          9.      As a direct and proximate result of the foregoing, plaintiff was caused to and did

 4   incur reasonable charges for medical care and attention. Plaintiff does not know the reasonable

 5   value of said medical care and attention already rendered or to be rendered in the future and

 6   therefore, prays leave to amend this complaint to show the same.

 7          10.     As a further result of the foregoing, plaintiff was rendered unable to engage in his

 8   normal and usual occupation for a period of time. Plaintiff may later be unable to engage in his

 9   normal and usual occupation and prays leave to amend this complaint to allege the full extent of

10   said loss when the same is ascertained.

11          11.     Plaintiff demands maintenance from the defendants in a per diem amount to

12   recuperate on land, with room and board at least equal to that received on defendant’s vessel,

13   until the plaintiff reaches maximum cure or until the plaintiff is declared fit for duty, whichever

14   last occurs. Plaintiff further demands the actual cost of cure until the plaintiff fully cured, and if

15   never cured, plaintiff demands the cost of cure for the remainder of plaintiff’s natural life.

16          12.     Maintenance and cure has been demanded and not paid. The failure to pay

17   maintenance and cure has caused additional damages to the plaintiff whether or not the failure to

18   pay was reasonable under the circumstances. Plaintiff is entitled to compensatory damages –

19   including contingent attorney fees – for the negligent failure to pay maintenance and cure.

20   Plaintiff is entitled to reasonable attorney fees for the arbitrary and capricious failure to pay

21   maintenance and cure. Plaintiff is entitled to punitive damages for the willful and wanton failure

22   to pay maintenance and cure.

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 1             13.     Plaintiff is entitled to earned and/or unearned wages (including bonuses and

 2   overtime) for his contemplated period of employment. Said wages have been demanded and

 3   denied. Plaintiff is entitled to double wages under state law and punitive damages under federal

 4   law.

 5             14.     Eighty-nine (89) days following the filing of this action, plaintiff waives the

 6   physician-patient privilege, under protest, and only on condition that the Court holds that a

 7   waiver is required in this case. This waiver is made pursuant to RCW 5.60.060(4)(b), as

 8   amended by Chapter 305, Laws of 1986; as limited by the civil discovery rules. Specifically,

 9   plaintiff authorizes no ex parte contacts or inquiry to medical personnel regarding matters not

10   reasonably calculated to lead to the discovery of admissible evidence. This waiver is made

11   subject to plaintiff’s challenge to the constitutionality of RCW 5.60.060(4)(b) on privacy

12   grounds, and the applicability of said statute to federal causes of action brought in federal court.

13

14             WHEREFORE, plaintiff prays judgment against the defendants as follows:

15             1.      For a declaration that the plaintiff holds claim to a preferred maritime lien against

16   the defendant vessel, her engines, machinery, appurtenances and cargo;

17             2.      For arrest, condemnation and sale of the defendant vessel including her engines,

18   machinery, appurtenances and cargo;

19             3.      For general damages, including damages for loss of consortium, as are reasonable

20   and fair;

21             4.      For such special damages, including found, as may be shown by the proofs

22   herein;

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 1          5.      For maintenance and cure, and for consequential and punitive damages for failure

 2   to pay same;

 3          6.      For earned and/or unearned wages and double wage penalties;

 4          7.      For pre-judgment interest on all claims as is in the law provided;

 5          8.      For costs of suit and reasonable attorney fees;

 6          9.      For such other and further relief, including punitive damages, as is met and just in

 7   the circumstances.

 8

 9          Dated this 4th day of February, 2022.

10                                                  LAW OFFICE OF JOHN MERRIAM

11                                                  By: /s/ John W. Merriam
                                                    John W. Merriam, WSBA #12749
12                                                  4005 20th Avenue West, Suite 110
                                                    Seattle, WA 98199
13                                                  Telephone: (206) 729-5252
                                                    Fax: (206) 729-1012
14                                                  Email: john@merriam-maritimelaw.com
                                                    Attorney for Plaintiff
15

16          I am the attorney for the plaintiff in this action and have knowledge of the matters

17   asserted in the above complaint based upon information provided by the plaintiff.

18          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the allegations of the

19   above complaint are true and correct to the best of my knowledge and belief.

20          DATED at Seattle, Washington this 4th day of February, 2022.

21
                                                    /s/ John W. Merriam
22                                                  John W. Merriam

23
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